         Case: 2:24-cv-00072-DCR-CJS                    Doc #: 132-1 Filed: 08/16/24                      Page: 1 of 3 - Page
                                                            ID#: 2903

Administrative Record   Administrative Record
                                                                                         Description
      Beg Doc                End Doc
    AR_004814               AR_004821         Comment # 232884 (South Coastal Counties Legal Services)
    AR_012910               AR_013119         Comment # 208339 (GLSEN)
                                              Jody L. Herman, et al., Suicide Thoughts and Attempts Among Transgender Adults: Findings
     AR_026964              AR_026999
                                              from the 2015 U.S. Transgender Survey (Sep. 2019)
     AR_029016              AR_029052         Comment # 225048 (Montana Attorney General et al.)
     AR_059645              AR_059647         Comment # 41272 (California Dept of Education)
     AR_088215              AR_088218         Comment # 70384 (National PTA)
     AR_203124              AR_203128         Comment # 187153 (Child Trends)
                                              Sandy E. James et al., The Report of the 2015 U.S. Transgender Survey, Nat’l Ctr. for
     AR_216995              AR_217296
                                              Transgender Equality, 14-15 (Dec. 2016)
     AR_221384              AR_221386         Comment # 197356 (Univ. of Hawaii)
     AR_221443              AR_221461         Comment # 197305 (Univ of Washington)
     AR_223203              AR_223203         Comment # 193913 (Montgomery College)
     AR_233141              AR_233145         Comment # 210649 (Ass'n of Christian Schools International)
     AR_254561              AR_254571         Comment # 218786 (Indiana Attorney General et al)
     AR_259365              AR_259379         Comment # 218129 (Tennessee Attorney General et al.)
                                              EEOC, Sexual Orientation and Gender Identity (SOGI) Discrimination,
     AR_270754              AR_270763
                                              https://perma.cc/W3MG-DEZB
                                              World Professional Association for Transgender Health, Standards of Care for the Health of
     AR_275092              AR_275349         Transgender and Gender Diverse People, Version 8 (2022),
                                              https://www.wpath.org/publications/soc
                                              Tanya Albert Henry, Exclusionary Bathroom Policies Harm Transgender Students, American
     AR_275350              AR_275352         Medical Association (Apr. 17, 2019), Exclusionary bathroom policies harm transgender
                                              students | American Medical Association (ama-assn.org)
                                              California Department of Education, Legal Advisory regarding application of California’s
     AR_275860              AR_275861         antidiscrimination statutes to transgender youth in school (updated Sep. 16, 2021) (Legal
                                              Advisory - Equal Opportunity & Access (CA Dept of Education)
                                                 Washoe County School District, Administrative Regulation 5161: Gender Identity and Gender
     AR_277240               AR_277246
                                                 Non-Conformity – Students (2019) (5161_Reg-Gender_Identify-v2.pdf (wcsdpolicy.net))
                                                 IOC Framework on Fairness, Inclusion, and Non-Discrimination on the Basis of Gender
     AR_277290               AR_277295
                                                 Identity and Sex Variations (Nov. 2021)
                                                 Cora Peterson et al., Lifetime Economic Burden of Intimate Partner Violence Among U.S.
     AR_277559               AR_277577
                                                 Adults, 55 Am. J. Preventive Med. 433 (2018)
                                                 Centers for Disease Control and Prevention, Fast Facts: Preventing Sexual Violence,
     AR_277578               AR_277580           https://www.cdc.gov/violenceprevention/sexualviolence/fastfact.html (last visited June 16,
                                                 2022)
                                                 Dep’t of Justice & Dep’t of Educ., Dear Colleague Letter on Transgender Students (May 13,
     AR_279305               AR_279313
                                                 2016)
                                                 Title IX Rule Citations - Federal Cases, Federal Court Filings, Federal Statutes,
     AR_280865               AR_280890
                                                 Federal Regulations, Executive Orders, Websites
                                                 Mandy Henningham & Tiffany Jones, Intersex students, sex-based relational learning &
     AR_280992               AR_281007           isolation, Sex Educ. (2021), DOI: 10.1080/14681811.2021.1873123, Intersex students, sex-
                                                 based relational learning & isolation: Sex Education: Vol 21, No 5 (tandfonline.com)
                                                 Jason Rafferty et al., Am. Acad. of Pediatrics, Ensuring Comprehensive Care and Support for
     AR_281253               AR_281266
                                                 Transgender and Gender Diverse Children and Adolescents 142 Pediatrics 72 (2018)
                                                 Joseph G. Kosciw et al., GLSEN, The 2019 National School Climate Survey: The Experiences
     AR_281740               AR_281959           of Lesbian, Gay, Bisexual, Transgender, and Queer Youth in our Nation’s Schools 28 (2020),
                                                 NSCS19-FullReport-032421-Web_0.pdf (glsen.org)
                                                 Robert W.S. Coulter et al., Prevalence of Past-Year Sexual Assault Victimization Among
     AR_282427               AR_282437           Undergraduate Students: Exploring Differences by and Intersections of Gender Identity,
                                                 Sexual Identity, and Race/Ethnicity, 18 Prevention Sci. 726 (2017)
                                                 Stephen T. Russell et al., Chosen Name Use Is Linked to Reduced Depressive Symptoms,
                                                 Suicidal Ideation, and Suicidal Behavior among Transgender Youth, 63 J. Adolescent Health
     AR_282642               AR_282646
                                                 503, 505 (2018), Chosen Name Use Is Linked to Reduced Depressive Symptoms, Suicidal
                                                 Ideation, and Suicidal Behavior Among Transgender Youth - PubMed (nih.gov)
                                                 GLSEN, Educational Exclusion: Drop out, push out, and school-to-prison pipeline among
     AR_283435               AR_283514
                                                 LGBTQ youth. (2016), Educational_Exclusion_2013.pdf (glsen.org) –

                                                             Page 1 of 3
         Case: 2:24-cv-00072-DCR-CJS                    Doc #: 132-1 Filed: 08/16/24                        Page: 2 of 3 - Page
                                                            ID#: 2904

Administrative Record   Administrative Record
                                                                                         Description
      Beg Doc                End Doc
                                                Joseph G. Kosciw, Elizabeth M. Diaz, Involved, Indivisible, Ignored: The Experiences of
     AR_283569               AR_283709          Lesbian, Gay, Bisexual, and Transgender Parents and Their Children in Our Nation’s K-12
                                                Schools at xvi (2008), New York, NY: GLSEN, FamRpt-022408 (ed.gov)
                                                Stephen T. Russell, et al., Are school policies focused on sexual orientation and gender
     AR_284774               AR_284794          identity associated with less bullying? Teachers' perspectives. 54 Journal of school psychology
                                                29 (Nov. 27 2015)

                                                Allegra R. Gordon et al., Gender Expression, Violence, and Bullying Victimization: Findings
                                                from Probability Samples of High School Students in 4 US School Districts, 8 J. Sch. Health
     AR_284953               AR_284968
                                                306 (2018), Gender Expression, Violence, and Bullying Victimization: Findings From
                                                Probability Samples of High School Students in 4 US School Districts - PubMed (nih.gov)

                                                Amy C. Tishelman et al., Serving Transgender Youth: Challenges, Dilemmas and
     AR_284971               AR_284987
                                                Clinical Examples, Prof. Psychol. Res. Pr. - Author Manuscript (2015)
                                                U.S. Government Accountability Office, K-12 Education: Students’ Experiences with
                                                Bullying, Hate Speech, Hate Crimes, and Victimization in Schools, GAO-22-10434,
     AR_285044               AR_285135
                                                Washington: GAO, 2021, GAO-22-104341, K-12 EDUCATION: Students’ Experiences with
                                                Bullying, Hate Speech, Hate Crimes, and Victimization in Schools
     AR_292755               AR_292852          Jessica A. Clarke, They, Them, Theirs, 132 Harv. L. Rev. 894 (Jan. 2019)
                                                Nhan L. Truong et al., Adrian D. Zongrone & Joseph G. Kosciw, GLSEN, Erasure and
                                                Resilience: The Experiences of LGBTQ Students of Color, Asian American and Pacific
     AR_292853               AR_292956
                                                Islander LGBTQ Youth in U.S. Schools, at 17, n.35 (GLSEN, 2020), AAPI LGBTQ Students
                                                | GLSEN
                                                Off. of Elementary & Secondary Educ., U.S. Dep’t of Educ., Safe & Supportive Schools (May
     AR_292957               AR_292961
                                                30, 2023), https://oese.ed.gov/offices/office-of-formula-grants/safe-supportive-schools/

                                                Badgett, MM.V. Badgett, et al.,The Business Impact of LGBT-Supportive Workplace Policies,
     AR_292981               AR_293017          The Williams Institute (May 2013). V. L., Durso, L. E., Kastanis, A., & Mallory, C., The
                                                Business Impact of LGBT-Supportive Workplace Policies (May 2013)
     AR_293018               AR_293020          Colorado High School Activities Association, Bylaw 300 Transgender Policy Statement
                                                Framingham High School, 2022-2023 Framingham High School Athletics Handbook:
     AR_293021               AR_293038
                                                Framingham Inclusive Sports Participation Policy
                                                Amira Hasenbush et al., Gender Identity Nondiscrimination Laws in Public Accommodations:
     AR_293039               AR_293053          A Review of Evidence Regarding Safety and Privacy in Public Restrooms, Locker Rooms, and
                                                Changing Rooms, 16 Sexuality Rsch. & Soc. Pol’y 70 (2019)
                                                Human Rights Watch, Shut Out: Restrictions on Bathroom and Locker Room Access for
     AR_293056               AR_293087
                                                Transgender Youth in US Schools (Sept. 14, 2016)
                                                Jody L. Herman, Gendered Restrooms and Minority Stress: The Public Regulation of Gender
     AR_293089               AR_293104          and Its Impact on Transgender People's Lives, 19 J. of Pub. Mgmt. & Soc. Pol'y 65, 74–75
                                                (2013)
                                                Katherine Szczerbinski, Education Connection: The importance of allowing students to use
     AR_293105               AR_293108          bathrooms and locker rooms reflecting their gender identity, 36 Child. Legal Rts. J. 153, 153
                                                (2016)
                                                New Jersey State Interscholastic Athletic Association, NJSIAA Guidelines, Policies and
     AR_293140               AR_293186
                                                Procedures: Transgender Policy (2020-2021)
                                                Office of Safe and Healthy Students, U.S. Dept. of Educ., Examples of Policies and Emerging
     AR_293260               AR_293284
                                                Practices for Supporting Transgender Students (May 2016)
                                                Sandy E. James, Jody L. Herman, Laura E. Durso, and Rodrigo Heng-Lehtinen, Early Insights:
     AR_293285               AR_293307          A Report of the 2022 U.S. Transgender Survey at 22, Nat’l Ctr. for Transgender Equality,
                                                (Feb. 2024)
                                                Seattle Public Schools, Superintendent Procedure 3210SP.C: Nondiscrimination and
     AR_293376               AR_293381          Affirmative Action: Transgender and Gender-Expansive Student Rights and Supports at 3
                                                (March 5, 2020), https://www.seattleschools.org/wp-content/uploads/2021/08/3210SP.C
                                                Sex-Segregated Bathrooms and Suicidal Ideation in Transgender Youth, 15 J. Advanced
     AR_293382               AR_293388
                                                Generalist Soc. Work Prac. 1, 27, 31-32 (2020)




                                                             Page 2 of 3
         Case: 2:24-cv-00072-DCR-CJS                   Doc #: 132-1 Filed: 08/16/24                     Page: 3 of 3 - Page
                                                           ID#: 2905

Administrative Record   Administrative Record
                                                                                       Description
      Beg Doc                End Doc
                                                Ilan H. Meyer, et al., Sexual Orientation Enumeration in State Antibullying Statutes
     AR_293389               AR_293394          in the United States Associations with Bullying, Suicidal Ideation, and Suicide
                                                Attempts Among Youth. LGBT Health, 6(1), 914 (2019)
                                                Seelman, K. L., Transgender Adults’ Access to College Bathrooms and Housing and the
     AR_293395               AR_293399
                                                Relationship to Suicidality. Journal of Homosexuality, 63(10) (2016)
                                                Wylie Hembree, et al. Endocrine Treatment of Gender-Dysphoric/ Gender-
     AR_293400               AR_293434
                                                Incongruent Persons: An Endocrine Society Clinical Practice Guideline (Nov. 2017)
                                                The Trevor Project, 2021 National Survey on LGBTQ Youth Mental Health, The Trevor
     AR_300195               AR_300214
                                                Project National Survey
                                                U.S. Dep’t of Justice & U.S. Dep’t of Educ., Confronting Anti-LGBTQI+ Harassment in
     AR_300218               AR_300218
                                                Schools: A Resource for Students and Families (June 2021), https://perma.cc/KA47-U9LJ




                                                            Page 3 of 3
